 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                             Western District of Washington


 Case number (if known):                                            Chapter      11                                                     ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Commodity Properties LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8      3 – 2     2   5    1    5    9   0
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  1770 Airport Way S Seattle                                     1525 NE Elshin Pl
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                  Seattle, WA 98134-1618
                                                  City                                    State   ZIP Code       Seattle, WA 98125-6523
                                                                                                                City                              State      ZIP Code


                                                  King                                                          Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ✔
                                                  ❑      Other. Specify:        LLC




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
                    Case 23-11190-MLB                        Doc 1          Filed 06/29/23          Ent. 06/29/23 14:36:30               Pg. 1 of 50
Debtor      Commodity Properties LLC                                                                             Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ✔ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ❑ None of the above
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5     3   1   1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




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Debtor        Commodity Properties LLC                                                                          Case number (if known)
             Name


  11. Why is the case filed in this      Check all that apply:
      district?
                                         ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ❑
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have        ✔ No
                                         ❑
      possession of any real
      property or personal property
                                         ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
      attention?                                   ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?


                                                   ❑     It needs to be physically secured or protected from the weather.
                                                   ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                         options).
                                                   ❑     Other
                                                   Where is the property?
                                                                              Number         Street




                                                                              City                                           State       ZIP Code
                                                   Is the property insured?
                                                   ❑ No
                                                   ❑ Yes.        Insurance agency
                                                                 Contact name
                                                                 Phone

          Statistical and administrative information

         13. Debtor’s estimation of      Check one:
             available funds?            ✔ Funds will be available for distribution to unsecured creditors.
                                         ❑
                                         ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                            creditors.

         14. Estimated number of
                                          ✔
                                          ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                    ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets             ❑    $0-$50,000                       ✔
                                                                                ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                          ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                          ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                          ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor        Commodity Properties LLC                                                                              Case number (if known)
             Name



                                            ❑    $0-$50,000                            ✔
                                                                                       ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     06/29/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Solomon Simone                                                   Printed name
                                                                                                                                          Solomon Simone
                                                    Signature of authorized representative of debtor


                                                    Title                Chief Executive Officer



         18. Signature of attorney
                                                ✘                         /s/ Lance L. Lee                             Date      06/29/2023
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Lance L. Lee
                                                    Printed name

                                                     Law Offices of Lance L. Lee
                                                    Firm name

                                                     1700 7th Ave Ste 2100
                                                    Number          Street


                                                     Seattle                                                              WA              98101
                                                    City                                                                 State            ZIP Code



                                                     (206) 332-9841                                                        lance@lancelee.com
                                                    Contact phone                                                         Email address



                                                     26518                                                                 WA
                                                    Bar number                                                            State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                    Case 23-11190-MLB                  Doc 1         Filed 06/29/23               Ent. 06/29/23 14:36:30                      Pg. 4 of 50
 Fill in this information to identify the case:

 Debtor name                          Commodity Properties LLC

 United States Bankruptcy Court for the:
                             Western District of Washington


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                         12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,          Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of             (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                 debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                               professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                               services, and           or disputed      for value of collateral or setoff to calculate
                                                                               government                               unsecured claim.
                                                                               contracts)                               Total claim, if    Deduction for      Unsecured
                                                                                                                        partially          value of           claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
      Internal Revenue Service                                                                                             Unknown                                Unknown
1
      PO Box 7346
      Philadelphia, PA 19101-7346


      Washington Department of                                                                                             Unknown                                Unknown
2
      Revenue
      PO Box 47476
      Olympia, WA 98504-7476

3




4




5




6




7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
                    Case 23-11190-MLB                    Doc 1         Filed 06/29/23             Ent. 06/29/23 14:36:30                  Pg. 5 of 50
Debtor       Commodity Properties LLC                                                                          Case number (if known)
             Name



    Name of creditor and complete         Name, telephone number,          Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of             (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                 debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                           professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                           services, and           or disputed      for value of collateral or setoff to calculate
                                                                           government                               unsecured claim.
                                                                           contracts)                               Total claim, if   Deduction for     Unsecured
                                                                                                                    partially         value of          claim
                                                                                                                    secured           collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
                    Case 23-11190-MLB                Doc 1         Filed 06/29/23             Ent. 06/29/23 14:36:30                  Pg. 6 of 50
 Fill in this information to identify the case:

 Debtor name                                        Commodity Properties LLC

 United States Bankruptcy Court for the:
                                       Western District of Washington


 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                       amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                          12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                       $1,400,000.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                              $39.32

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                        $1,400,039.32




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                        $1,254,342.27



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                  $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                            +                  $0.00




 4. Total liabilities..............................................................................................................................................................................                     $1,254,342.27

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                             page 1
                         Case 23-11190-MLB                                     Doc 1              Filed 06/29/23                         Ent. 06/29/23 14:36:30                                       Pg. 7 of 50
 Fill in this information to identify the case:

 Debtor name                          Commodity Properties LLC

 United States Bankruptcy Court for the:
                             Western District of Washington


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)            Type of account                   Last 4 digits of account number
       3.1 Boeing Employees Credit Union                            Checking account                        8590                                           $39.32

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                           $39.32
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                      Schedule A/B: Assets — Real and Personal Property                                            page 1

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Debtor        Commodity Properties LLC                                                                           Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                             $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                                      -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts



         11b. Over 90 days old:                                         -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                             $0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2

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Debtor       Commodity Properties LLC                                                                    Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                     $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest   for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                       $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.


Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                   page 3

                  Case 23-11190-MLB                   Doc 1        Filed 06/29/23            Ent. 06/29/23 14:36:30          Pg. 10 of 50
Debtor       Commodity Properties LLC                                                                    Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ✔ No. Go to Part 8.
         ❑
         ❑ Yes. Fill in the information below.



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4

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Debtor       Commodity Properties LLC                                                                    Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         None


  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         None


  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                                     $0.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5

                  Case 23-11190-MLB                   Doc 1         Filed 06/29/23         Ent. 06/29/23 14:36:30            Pg. 12 of 50
Debtor        Commodity Properties LLC                                                                       Case number (if known)
             Name



         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                         $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

              Commercial Real Estate                            Fee Simple                $1,400,000.00                                         $1,400,000.00
         55.1 1770 Airport Way S Seattle, WA 98134-1618


  56. Total of Part 9
                                                                                                                                                $1,400,000.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6

                   Case 23-11190-MLB                      Doc 1       Filed 06/29/23         Ent. 06/29/23 14:36:30              Pg. 13 of 50
Debtor       Commodity Properties LLC                                                                    Case number (if known)
             Name



  59. Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of   Valuation method used      Current value of debtor's
                                                                                   debtor's interest   for current value          interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                     $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7

                  Case 23-11190-MLB                   Doc 1         Filed 06/29/23         Ent. 06/29/23 14:36:30            Pg. 14 of 50
Debtor        Commodity Properties LLC                                                                   Case number (if known)
             Name



                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8

                  Case 23-11190-MLB                    Doc 1        Filed 06/29/23        Ent. 06/29/23 14:36:30             Pg. 15 of 50
Debtor        Commodity Properties LLC                                                                                               Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                     $39.32

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                                $0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                   $1,400,000.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                         $39.32       + 91b.                $1,400,000.00



                                                                                                                                                                           $1,400,039.32
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                  page 9
                    Case 23-11190-MLB                             Doc 1           Filed 06/29/23                      Ent. 06/29/23 14:36:30                    Pg. 16 of 50
 Fill in this information to identify the case:

     Debtor name     Commodity Properties LLC

     United States Bankruptcy Court for the:                 Western                 District of        Washington
                                                                                                   (State)
     Case number (if known):                                                                                                                           ❑   Check if this is an
                                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔
       ❑   Yes. Fill in all of the information below.

     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                             Column A                       Column B
        than one secured claim, list the creditor separately for each claim.                                                 Amount of claim                Value of collateral
                                                                                                                             Do not deduct the value        that supports this
                                                                                                                             of collateral.                 claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                             $37,979.29         $1,400,000.00
         King County Treasurer
                                                             Commercial Real Estate
        Creditor’s mailing address
                                                             Describe the lien
         201 S Jackson St Ste 710
                                                             Property tax
         Seattle, WA 98104
                                                             Is the creditor an insider or related party?
        Creditor’s email address, if known
                                                             ✔
                                                             ❑   No
                                                             ❑   Yes
        Date debt was                   2021-2023            Is anyone else liable on this claim?
        incurred
                                                             ✔
                                                             ❑   No
        Last 4 digits of                                     ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        account
        number                                               As of the petition filing date, the claim is:
                                                             Check all that apply.
        Do multiple creditors have an interest
                                                             ❑   Contingent
        in the same property?
                                                             ❑   Unliquidated
        ❑   No                                               ❑   Disputed
        ✔
        ❑   Yes. Specify each creditor, including this
                 creditor, and its relative priority.
                  1) Sound Investment Partners; 2)
                  King County Treasurer




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                               $1,254,342.27
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 3



                 Case 23-11190-MLB                        Doc 1         Filed 06/29/23                   Ent. 06/29/23 14:36:30                    Pg. 17 of 50
Debtor     Commodity Properties LLC                                                                     Case number (if known)
          Name




  Part 1:         Additional Page                                                                                        Column A                   Column B
                                                                                                                         Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                         Do not deduct the value    that supports this
 from the
                                                                                                                         of collateral.             claim
 previous page.

2.2 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                         lien                                                                             unknown            unknown
      Michelle R. Ghidotti

     Creditor’s mailing address
      Ghidotti Berger LLP
      1920 Old Tustin Ave
                                                         Describe the lien
      Santa Ana, CA 92705-7811
                                                          Trustee of Deed of Trust
     Creditor’s email address, if known
                                                         Is the creditor an insider or related party?
                                                         ✔
                                                         ❑   No
     Date debt was                                       ❑   Yes
     incurred
                                                         Is anyone else liable on this claim?
     Last 4 digits of                                    ✔
                                                         ❑   No
     account                                             ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                         As of the petition filing date, the claim is:
     Do multiple creditors have an interest              Check all that apply.
     in the same property?
                                                         ❑   Contingent
     ✔
     ❑   No
                                                         ❑   Unliquidated
     ❑   Yes. Have you already specified the
                                                         ❑   Disputed
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3




              Case 23-11190-MLB                         Doc 1       Filed 06/29/23                Ent. 06/29/23 14:36:30                     Pg. 18 of 50
Debtor     Commodity Properties LLC                                                                     Case number (if known)
          Name




  Part 1:         Additional Page                                                                                        Column A                   Column B
                                                                                                                         Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                         Do not deduct the value    that supports this
 from the
                                                                                                                         of collateral.             claim
 previous page.

2.3 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                         lien                                                                       $1,216,362.98       $1,400,000.00
      Sound Investment Partners
                                                         Commercial Real Estate
     Creditor’s mailing address
                                                         Describe the lien
      c/o Jeffrey Richey
      1864 77th Ave NE
                                                         Is the creditor an insider or related party?
      Medina, WA 98039-2307
                                                         ✔
                                                         ❑   No
     Creditor’s email address, if known                  ❑   Yes

                                                         Is anyone else liable on this claim?
     Date debt was                                       ✔
                                                         ❑   No
     incurred                                            ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

     Last 4 digits of                                    As of the petition filing date, the claim is:
     account                                             Check all that apply.
     number
                                                         ❑   Contingent

     Do multiple creditors have an interest              ❑   Unliquidated
     in the same property?                               ❑   Disputed

     ❑   No
     ✔
     ❑   Yes. Have you already specified the
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔
         ❑    Yes. The relative priority of creditors
                   is specified on lines 2.1




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 3


              Case 23-11190-MLB                         Doc 1       Filed 06/29/23                Ent. 06/29/23 14:36:30                     Pg. 19 of 50
 Fill in this information to identify the case:

 Debtor name                          Commodity Properties LLC

 United States Bankruptcy Court for the:
                             Western District of Washington


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      unknown                       $0.00
                                                           Check all that apply.
       Internal Revenue Service
                                                           ❑ Contingent
       PO Box 7346                                         ❑ Unliquidated
       Philadelphia, PA 19101-7346
                                                           ❑ Disputed
                                                           Basis for the Claim:
       Date or dates debt was incurred


                                                           Is the claim subject to offset?
       Last 4 digits of account                            ✔ No
                                                           ❑
       number                                              ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)

2.2 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      unknown                       $0.00
                                                           Check all that apply.
       Washington Department of Revenue
                                                           ❑ Contingent
       PO Box 47476                                        ❑ Unliquidated
       Olympia, WA 98504-7476
                                                           ❑ Disputed
                                                           Basis for the Claim:
       Date or dates debt was incurred


                                                           Is the claim subject to offset?
       Last 4 digits of account                            ✔ No
                                                           ❑
       number                                              ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 3
                  Case 23-11190-MLB                  Doc 1        Filed 06/29/23             Ent. 06/29/23 14:36:30                Pg. 20 of 50
Debtor        Commodity Properties LLC                                                                        Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.1                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.2                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.3                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2 of 3

                  Case 23-11190-MLB                   Doc 1       Filed 06/29/23            Ent. 06/29/23 14:36:30                Pg. 21 of 50
Debtor       Commodity Properties LLC                                                             Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00




  5b. Total claims from Part 2                                                     5b.              $0.00
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $0.00
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                              page 3 of 3

                 Case 23-11190-MLB                Doc 1       Filed 06/29/23       Ent. 06/29/23 14:36:30             Pg. 22 of 50
 Fill in this information to identify the case:

 Debtor name                          Commodity Properties LLC

 United States Bankruptcy Court for the:
                             Western District of Washington


 Case number (if known):                                      Chapter   11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
2.1    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                    Schedule G: Executory Contracts and Unexpired Leases                                                page 1 of 1

                  Case 23-11190-MLB                  Doc 1        Filed 06/29/23           Ent. 06/29/23 14:36:30                 Pg. 23 of 50
 Fill in this information to identify the case:

  Debtor name          Commodity Properties LLC


  United States Bankruptcy Court for the:              Western              District of       Washington

                                                                                                                                         ❑
                                                                                          (State)
  Case number (If known):
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ✔
        ❑     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑     Yes

  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                          Check all schedules
         Name                               Mailing address                                                Name
                                                                                                                                          that apply:

 2.1                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.2                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.3                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.4                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code

 2.5                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                   State                   ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                          page 1 of    2




             Case 23-11190-MLB                       Doc 1       Filed 06/29/23                 Ent. 06/29/23 14:36:30              Pg. 24 of 50
Debtor      Commodity Properties LLC                                                      Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.6                                                                                                                         ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G


                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2




            Case 23-11190-MLB                  Doc 1      Filed 06/29/23           Ent. 06/29/23 14:36:30               Pg. 25 of 50
 Fill in this information to identify the case:

 Debtor name                          Commodity Properties LLC

 United States Bankruptcy Court for the:
                             Western District of Washington


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         x
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑
         x     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑
         x     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑
         x     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑
         x     Schedule H: Codebtors (Official Form 206H)

         ❑
         x     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑
         x     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     06/29/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Solomon Simone
                                                                                Signature of individual signing on behalf of debtor


                                                                                Solomon Simone
                                                                                Printed name


                                                                                Chief Executive Officer
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
                  Case 23-11190-MLB                   Doc 1        Filed 06/29/23            Ent. 06/29/23 14:36:30                   Pg. 26 of 50
 Fill in this information to identify the case:

 Debtor name                          Commodity Properties LLC

 United States Bankruptcy Court for the:
                             Western District of Washington


 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ✔ None
         ❑
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ❑ Operating a business
                                                                                         ❑ Other
       fiscal year to filing date:      From 01/01/2023           to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2022           to    12/31/2022       ❑ Operating a business
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:        From 01/01/2021           to    12/31/2021       ❑ Operating a business
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2023           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2022           to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2021           to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




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Debtor           Commodity Properties LLC                                                                        Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
        Street

                                                                                                               ❑ Other
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




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Debtor           Commodity Properties LLC                                                                         Case number (if known)
                 Name

 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ✔ None
        ❑
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

                                                                                                                                              ❑ Pending
                                                                                        Name
                                                                                                                                              ❑ On appeal
         Case number                                                                    Street
                                                                                                                                              ❑ Concluded


                                                                                        City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3


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Debtor            Commodity Properties LLC                                                                       Case number (if known)
                  Name
 8.1.     Custodian’s name and address                     Description of the property                          Value


         Custodian’s name
                                                           Case title                                           Court name and address
         Street
                                                                                                               Name

                                                           Case number                                         Street
         City                        State     ZIP Code



                                                           Date of order or assignment                         City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                   Dates given          Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None




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Debtor            Commodity Properties LLC                                                                      Case number (if known)
                  Name

 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred          Dates              Total amount or
                                                                                                                                             value

         Law Offices of Lance L. Lee                           Attorney’s Fee                                           6/29/2023                     $5,000.00


          Address

         1700 7th Ave Ste 2100
         Street


         Seattle, WA 98101
         City                        State    ZIP Code


          Email or website address

         lance@lancelee.com

          Who made the payment, if not debtor?

         Principal of Debtor, Solomon Simone




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




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Debtor          Commodity Properties LLC                                                                           Case number (if known)
                Name
 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                              Dates of occupancy

 14.1.                                                                                                        From                     To
         Street




         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the       If debtor provides meals
                                                            debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                            Location where patient records are maintained(if different from        How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                                 Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑




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Debtor           Commodity Properties LLC                                                                         Case number (if known)
                 Name

        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                        Name of plan                                                                   Employer identification number of the plan

                                                                                                      EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account       Type of account              Date account was          Last balance
                                                          number                                                      closed, sold, moved,      before closing
                                                                                                                      or transferred            or transfer

 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                       State    ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑    No

                                                                                                                                                 ❑
        Name
                                                                                                                                                      Yes
        Street

                                                          Address

        City                       State    ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑




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Debtor            Commodity Properties LLC                                                                        Case number (if known)
                  Name

 20.1     Facility name and address                              Names of anyone with access to it      Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑   No

                                                                                                                                                  ❑
         Name
                                                                                                                                                      Yes
         Street

                                                                 Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                    Location of the property                Description of the property                   Value


         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                      Court or agency name and address                   Nature of the case                            Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                        Name
                                                                                                                                                        ❑ On appeal
                                                        Street
                                                                                                                                                        ❑ Concluded


                                                        City                         State   ZIP Code




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Debtor            Commodity Properties LLC                                                                     Case number (if known)
                  Name
 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                       Governmental unit name and address                  Environmental law, if known                Date of notice


         Name                                        Name


         Street                                      Street




         City                  State   ZIP Code      City                       State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                       Governmental unit name and address                  Environmental law, if known                Date of notice


         Name                                        Name


         Street                                      Street




         City                  State   ZIP Code      City                       State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                   Describe the nature of the business                         Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:         –
         Name
                                                                                                                  Dates business existed
         Street
                                                                                                                From                  To



         City                  State   ZIP Code


 26. Books, records, and financial statements
 26a.    List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ✔None
         ❑




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 9

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Debtor           Commodity Properties LLC                                                                  Case number (if known)
                 Name

           Name and address                                                                                   Dates of service

 26a.1.
                                                                                                             From                   To
          Name


          Street




          City                                          State                   ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                   Dates of service

 26b.1.
                                                                                                             From                   To
          Name


          Street




          City                                          State                   ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑
           Name and address                                                                                   If any books of account and records are
                                                                                                              unavailable, explain why
 26c.1.


          Name


          Street




          City                                          State                   ZIP Code

 26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address

 26d.1.
          Name


          Street




          City                                          State                   ZIP Code


 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑ Yes. Give the details about the two most recent inventories.



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 10


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Debtor          Commodity Properties LLC                                                                            Case number (if known)
                Name

          Name of the person who supervised the taking of the inventory                           Date of                The dollar amount and basis (cost, market, or
                                                                                                  inventory              other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                        State                ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                             Address                                                            Position and nature of any             % of interest, if any
                                                                                                              interest

                                                                                                          ,

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                             Address                                                      Position and nature of any           Period during which
                                                                                                        interest                             position or interest was
                                                                                                                                             held

                                                                                                    ,                                         From
                                                                                                                                              To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name and address of recipient                                          Amount of money or description               Dates                  Reason for providing
                                                                                 and value of property                                               the value


 30.1.
         Name


         Street




         City                                     State        ZIP Code


          Relationship to debtor



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 11

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Debtor      Commodity Properties LLC                                                                            Case number (if known)
            Name

      ❑ Yes. Identify below.
           Name of the parent corporation                                                            Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
           Name of the pension fund                                                                  Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          06/29/2023
                     MM/ DD/ YYYY




    ✘ /s/ Solomon Simone                                                   Printed name                    Solomon Simone
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor       Chief Executive Officer




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 12

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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF WASHINGTON
                                                            SEATTLE DIVISION

IN RE: Commodity Properties LLC                                                       CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      06/29/2023            Signature                              /s/ Solomon Simone
                                                                Solomon Simone, Chief Executive Officer




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                             Internal Revenue Service
                             PO Box 7346
                             Philadelphia, PA 19101-7346




                             King County Treasurer
                             201 S Jackson St Ste 710
                             Seattle, WA 98104




                             Michelle R. Ghidotti
                             Ghidotti Berger LLP
                             1920 Old Tustin Ave
                             Santa Ana, CA 92705-7811



                             Sound Investment Partners
                             c/o Jeffrey Richey
                             1864 77th Ave NE
                             Medina, WA 98039-2307



                             Washington Department of
                             Revenue
                             PO Box 47476
                             Olympia, WA 98504-7476




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                                                   United States Bankruptcy Court
                                                     Western District of Washington

In re   Commodity Properties LLC                                                                   Case No.
                                                                          Debtor(s)                Chapter                     11



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for              Commodity Properties LLC               in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests, or states that there are no entities to report under FRBP 7007.1:




✔
❑   None [Check if applicable]




             06/29/2023                                               /s/ Lance L. Lee
Date                                              Lance L. Lee
                                                  Signature of Attorney or Litigant
                                                  Counsel for      Commodity Properties LLC
                                                  Bar Number: 26518
                                                  Law Offices of Lance L. Lee
                                                  1700 7th Ave Ste 2100
                                                  Seattle, WA 98101
                                                  Phone: (206) 332-9841
                                                  Email: lance@lancelee.com




                                                                          1




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1
                                                                            Hon. ___
2                                                                           Chapter 11
3
4
5
6
7
8
9
                                      UNITED STATES BANKRUPTCY COURT
10                                    WESTERN DISTRICT OF WASHINGTON
11
          In re:                                                      NO.
12
13                                                                    DISCLOSURE OF ATTORNEY
          COMMODITY PROPERTIES, LLC,
                                                                      COMPENSATION
14                                            Debtor.
15
16                          Disclosure of Compensation of Attorney For Debtor
17
         1.          Pursuant to 11 USC 329(a) and FRBP 2016(b), I certify that I am the
18                   attorney for the above-named debtor and that compensation paid to me
19                   within one year before the filing of the petition in bankruptcy, or agreed to
                     be paid to me, for services rendered or to be rendered on behalf the debtor
20                   in contemplation of or in connection with bankruptcy case as follows:
21                   For legal services, I agree to accept:
22
                Initial retainer of $5,000, plus such other sums as the Court allows upon
23       application therefor pursuant to §330 and §331.
24                   Prior to the filing of this statement, I have received:
25
               $5,000.00, of which $1,738.00 was paid to the United States Bankruptcy
26       Court Clerk for the filing fee and $900.00 was paid for prepetition legal services.
27
                     Balance Due:
28
                     $0.00
29
              Disclosure of Attorney Compensation-1 of 2                           THE LAW OFFICES OF LANCE L. LEE
                                                                                             1700 7th Ave Ste 2100
                                                                                            Seattle, WA 98101-1360
                                                                                     (206) 332-9841 / Fax: (206) 905-2991



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1
         2.          The source of the compensation paid to me was: DEBTOR.
2
3        3.          The source of the compensation to be paid to me is: DEBTOR.

4
         4.          I have not agreed to share the above-disclosed compensation with any
5                    other person unless they are members and associates of my law firm.
6
         5.          In return for the above-disclosed compensation, I have agreed to render
7
                     legal services for all aspects of the bankruptcy case, including analysis of
8
                     the debtor’s financial situation; rendering advice to the debtor in
9
                     determining whether to file a petition in bankruptcy; preparation and
10
                     filing of any petition, schedules, statement of affairs and plan which may
11                   be required; representation of the debtor at the meeting of creditors and
12                   confirmation hearing, and any adjourned hearings thereof; representation
13                   of the debtor in adversary proceedings and other contested bankruptcy
14                   matters; and, any other reasonable and necessary proceeding arising in the
15                   course of this Chapter 11 case.

16
         6.          A copy of the legal services agreement between the debtor and the
17                   undersigned is attached hereto.
18
19
20                   I declare under penalty of perjury that the foregoing is true and correct
21       under the laws of the United States of America and the State of Washington.
22
                     Dated this             29th           day of June 2023
23
                                                                      /s/ Lance L. Lee
24
                                                                      Lance L. Lee, WSBA#26518
25                                                                    1700 7th Ave Ste 2100
                                                                      Seattle, WA 98101
26
27
28
29
              Disclosure of Attorney Compensation-2 of 2                           THE LAW OFFICES OF LANCE L. LEE
                                                                                              1700 7th Ave Ste 2100
                                                                                             Seattle, WA 98101-1360
                                                                                      (206) 332-9841 / Fax: (206) 905-2991



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                            Lance L. Lee, Attorney at Law*
                                      1700 7th Ave Ste 2100
                                     Seattle, WA 98101-1360
                            Phone (206) 332-9841 ♦ Fax (206) 905-2991
                              www.lancelee.com, lance@lancelee.com
                                *admitted in Washington and California




 November 19, 2021

 Commodity Properties LLC
 Solomon Simone, CEO
 1770 Airport Wy S
 Seattle, WA 98134-1618

        Re: Agreement for Legal Services

 Dear Mr. Solomon:

 The Law Offices of Lance L. Lee (the “Firm”) is honored that you have selected
 the firm to represent Commodity Properties LLC. (“Client”) as insolvency and
 bankruptcy counsel. Our objective is to provide high quality legal services to our
 clients at a fair and reasonable cost. This letter agreement (“Agreement”)
 outlines the basis upon which we will render legal services to Client, and confirms
 our understanding with respect to payment of legal fees, costs and expenses
 incurred in conjunction with such representation. We apologize for the formality
 of this letter agreement, but we believe that it is important for our clients to have
 a clear understanding of the Firm’s policies regarding legal fees and costs from
 the inception of our relationship. Moreover, many of the provisions of this letter
 are required or recommended by Washington State law and Rules of Professional
 Conduct.

 1. Scope of Services; Client Duties. You are hiring the firm as attorneys in
 connection with an attempt to reach an out of court workout arrangement with
 Client’s secured lenders and, if a successful workout cannot be achieved, to
 represent Client as its bankruptcy counsel in a chapter 11 bankruptcy




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 reorganization case. The Firm’s practice is generally limited to bankruptcy,
 reorganization, and insolvency matters and related litigation. We will keep you
 informed of the progress of the matters described above and respond to your
 inquiries. You agree to be truthful with us, to cooperate, to keep us informed of
 any developments, to abide by this Agreement, to pay our bills, and to keep us
 advised of your current address and telephone number.

 2. Retainer. In order for us to commence our representation, the firm requires
 the deposit of a retainer in the amount of $5,000.00. This retainer will be
 deposited in our attorney trust account but we are authorized to draw on it, up to
 its full amount, as and when we deem appropriate. Any unused portion of the
 retainer at the conclusion of our representation will be refunded to you or the
 party who advanced it.

 3. Legal Fees and Billing Practices. The Code of Professional
 Responsibility of the American Bar Association suggests that professional fees
 reflect a number of factors including the number of attorney hours incurred, the
 relative experience of the attorney(s) performing the services, the difficulty of the
 matter, and the results obtained for the client. Our professional fees are usually
 determined by multiplying the actual number of attorney hours incurred by the
 attorney’s hourly billing rate. However, in accordance with the Code of
 Professional Responsibility, we reserve the right to make upward or downward
 adjustments to these hourly determinations as may be appropriate given the
 circumstances. From time to time these rates will change, reflecting trends in the
 cost of providing legal services or the advancing status of the attorney within the
 firm. Upon request, we will apprise you of any changes in the firm’s hourly rate
 structure. The minimum billing unit for our legal personnel is one-tenth of an
 hour, and services will be recorded and billed in one-tenth of an hour increments.

 We will charge you for all activities undertaken in providing legal services to you
 under this Agreement, including but not limited to the following: conferences,
 including preparation and participation; preparation and review of




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 correspondence and other documents; legal research and analysis; court and
 other appearances, including preparation, participation and waiting time; and
 telephone calls, including calls with you, other attorneys or persons involved with
 this matter, governmental agencies and any other party or person contact with
 whom is required for this representation. The legal personnel assigned to this
 matter may confer among themselves about the matter, as required. When they
 do confer, each will charge for the time expended. If more than one of our legal
 personnel attends a meeting, court hearing or other proceeding, each will charge
 for the time spent only if it is necessary in our judgment to have two or more legal
 personnel at the meeting, hearing or proceeding. We will reluctantly charge for
 waiting and travel time, both local and out of town.

 Currently our hourly rates range from $150.00 for paralegals/legal assistants to
 $400.00 for attorneys.

 4. Costs and Other Charges.

 a. In General. We will incur various costs and expenses in the normal course of
 performing legal services under this Agreement. Costs and expenses commonly
 include filing and recordation fees, court reporters’ fees, costs of transcripts,
 paralegal and secretarial overtime and meals, computer legal research,
 messenger and other delivery services, postage, parking and other local travel
 expenses, telecopying, photocopying and other reproduction costs.

 b. Out of Town Travel and Extraordinary Expenses. You agree to pay
 transportation, meals, lodging and all other costs of any necessary out-of-town
 travel by our personnel. You will be charged the hourly rates for the time legal
 personnel spend traveling. You also agree to pay for extraordinary charges such
 as expert witness fees, title insurance fees, consultant and investigator fees, and
 the like.




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 5. Billing Statements. We will send you monthly statements indicating fees
 and costs incurred and their basis, any amounts applied from the retainer, and
 any current balance owed. The billing statement will list the professionals who
 worked on your matter for that billing period with their current hourly billing
 rates. When an increase occurs, the new hourly billing rate will appear in your
 statement. If no fees or costs are incurred for a particular month, or they are
 minimal, the statement may be held and combined with that for the following
 month or months. Should you have any questions concerning any statement, we
 encourage you to discuss them with us so that we may have an opportunity to
 resolve any misunderstandings in a mutually agreeable manner. Statements are
 due on receipt. For any statements not paid within 30 days of billing, interest
 shall accrue on the unpaid balance at the rate of one percent (1%) per month.

 In the event of a chapter 11 filing by Client, the ultimate fees to be awarded the
 Firm for its representation of Client in the chapter 11 case must be approved by
 the Bankruptcy Court. When the funds advanced to the Firm by Client have been
 exhausted based upon charges against it for services rendered, in the event of a
 chapter 11 filing, interim applications for compensation and reimbursement of
 expenses will be filed by the Firm with the Bankruptcy Court in order to obtain
 authorization for further payment. Generally, interim applications are presented
 on a quarterly basis. However, with court approval, they may be submitted more
 often. An award of compensation will be expected to be paid upon the entry of a
 court order authorizing such award.

 6. Discharge and Withdrawal. You may discharge us at any time and we
 have the right to withdraw from your representation at any time. Reasons for our
 withdrawal include, but are not limited to, your breach of this Agreement, your
 failure to pay our bills as they become due, your refusal to cooperate with us or
 follow our advice on a material matter or any fact or circumstance that would
 render our continuing representation of you unlawful, unethical or impracticable.




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 When our services conclude, all unpaid charges will immediately become due and
 payable. After our services conclude, we will, upon written request, deliver your
 file to you along with any funds or property of yours in our possession. The work
 product produced in the course of our representation will remain our property.

 7. Disclaimer of Guarantee. Nothing in this Agreement should be construed
 as a promise or guarantee about the outcome of any matter which we are
 handling on your behalf. Our comments about the outcome of matters pertaining
 to you are expressions of opinion only.

 8. Future Conflict. Our undertaking to represent you in the above matters
 will not act as a bar so as to prevent us from representing any existing or future
 client with respect to a claim adverse to you, so long as in the course of your
 representation we have not obtained any information that would be adverse to
 your interests with respect to such claim.

 9. Duties Upon Termination of Active Representation. Upon cessation
 of our active involvement in a particular matter in which we have been engaged,
 we will have no further duty to inform you of future developments, deadlines or
 changes in the law as may be relevant to such matter in which our representation
 has ceased.

 10. Legal Fees. If any legal action, arbitration or proceeding is initiated
 concerning the terms and provisions of this Agreement, the prevailing party shall
 be entitled to reasonable attorneys’ fees and other costs incurred in such action,
 arbitration or proceeding. It is agreed and understood that any such legal action,
 arbitration or proceeding shall be brought in the State of Washington, whose laws
 and procedures shall apply.

 11. Arbitration. Washington law requires that the client be given the
 opportunity to seek arbitration of any fee disputes which may arise between us.
 If you elect such arbitration, it is agreed that the decision of the arbitrator shall be




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 binding upon both of us, may be confirmed by a court of competent jurisdiction
 and thereafter enforced or appealed in the same manner as if it had been
 rendered by a judge in a judicial proceeding.

 12. Entire Agreement. This letter contains all of the terms of the agreement
 between us applicable to our representation of you and may not be modified
 except by a written agreement signed by both of us. There are no promises,
 terms, conditions or obligations applicable to our representation hereunder,
 except as expressly set forth in this Agreement, and the terms hereof supersede
 any previous oral or written agreements between us with respect to our
 representation in the matters covered by this Agreement.

 12. Authority of Signature. The person or persons signing this Agreement
 represent that he, she or they have the authority to so act.

 13. Effective Date. Please confirm that this letter accurately reflects our
 agreement, and that you understand and waive any potential conflicts of interest,
 by signing the duplicate copy of this Agreement and returning it to us along with
 your retainer amount stated above. The representation covered by this
 Agreement commences only upon the receipt by this office of such items.

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 If you have any questions concerning the provisions of this Agreement, please do
 not hesitate to call me. We look forward to the privilege of working with you.




 Very truly yours,

 Law Offices of Lance L. Lee



 Lance L. Lee, Esq.




 I, Solomon Simone, CEO, have read, understand, and agree to the foregoing on
 behalf of Commodity Properties LLC. I am authorized to execute this agreement
 on behalf of Commodity Properties LLC.

 Commodity Properties LLC


 by: Solomon Simone
     CEO




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